
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission, now Industrial Relations Commission.
We find that oral argument would serve no useful purpose, and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10(e), 32 F.S.A.
We conclude from our consideration of the petition, record and briefs, that the or*210der of the Commission, except that portion relating to determination of attorneys fee, must be quashed on authority of the decision of this Court in Brown v. Griffin, 229 So.2d 225 (Fla.1969), and the cause remanded with directions that the matter be returned to the Judge of Industrial Claims for further findings of fact on the evidence already taken, in compliance with our opinions in Brown v. Griffin, supra, and Hardy v. City of Tarpon Springs, 81 So.2d 503 (Fla.1955).
Petitioner’s application for attorneys fees is granted in the amount of $250.00.
It is so ordered.
ERVIN, C. J., and DREW, CARLTON, ADKINS and BOYD, JJ., concur.
